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                                                                                 FILED
                                                                                   Clerk
JULIE ANN     P.             GUERRERO                                          District Court
                                                                              AUG 27 2021

                          Northern Mariana Islands
                                                                      for the Northern Mariana Islands
                                                                      By________________________
BK 21-00002                                                                     (Deputy Clerk)




                                                                The application is denied without
                                                                prejudice for insufficient information.
                                                                Debtor may file within 14 days of this
                                                                order a complete application, including
                                                                Part 2 (monthly expenses) and Part 3
                                                                (property). If the answer is none, then the
                                                                number zero must be stated. Failure to
                                                                refile timely will result in a denial.




                                            Ramona V. Manglona
